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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     KHAMLE KEOVILAY
6
                         IN THE UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,      )
                                    )     Cr.S. 09-222-GEB
10                   Plaintiff,     )
                                    )     STIPULATION AND ORDER
11             v.                   )
                                    )
12   KHAMLE KEOVILAY, et al.,       )     DATE: November 2, 2012
                                    )     TIME: 9:00 a.m.
13                   Defendants.    )     JUDGE: Hon. Garland E. Burrell
                                    )
14   __________________________     )
15
16        It is hereby stipulated and agreed to by the United States of
17   America through TODD D. LERAS, Assistant United States Attorney,
18   defendant, KHAMLE KEOVILAY, by and though his counsel, DENNIS S. WAKS,
19   Supervising Assistant Federal Defender, defendant, DAVID CHENG by and
20   through his attorney, ALICE W. WONG, defendant MINGH THAM, by and
21   through his attorney, MICHAEL B. BIGELOW, defendant DUNG NGUYEN, by and
22   through his attorney, MICHAEL D. LONG, SANG HIN SAELEE, by and through
23   his attorney, OLAF W. HEDBERG, defendant LONG NGUYEN, by and through
24   his attorney, CHRISTOPHER H. WING, and defendant TUAN DAO, by and
25   through his attorney, KEN GIFFARD, that the status conference set for
26   Friday, September 14, 2012, be continued to a status conference on
27   Friday, November 2, 2012, at 9:00 a.m.
28        This continuance is being requested because defense counsel needs
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1    additional time to prepare, to review discovery, and to interview
2    witnesses.   The parties have received a large amount of discovery,
3    including Title III documents.
4         Furthermore, the parties stipulate and agree that the interest of
5    justice served by granting this continuance outweighs the best interest
6    of the public and the defendants in a speedy trial.          (18 U.S.C.
7    §3161(h)(7)(A)).
8         Speedy trial time is to be excluded from the date of this order
9    through the date of the status conference set for November 2, 2012,
10   pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
11   (Local Code T4).
12                                     Respectfully submitted,
13                                     DANIEL J. BRODERICK
                                       Federal Defender
14
     DATED: September 12, 2012         /S/ Dennis S. Waks
15
                                       DENNIS S. WAKS
16                                     Supervising Assistant Federal Defender
                                       Attorney for Defendant
17                                     KHAMLE KEOVILAY
18
                                       /s/ Dennis S. Waks for
19
                                       ALICE W. WONG, Attorney for
20                                     DAVID CHENG
21
                                       /s/ Dennis S. Waks for
22
                                       MICHAEL B. BIGELOW, Attorney for
23                                     MINH THAM
24
                                       /s/ Dennis S. Waks for
25
                                       MICHAEL D. LONG, Attorney for
26                                     DUNG NGUYEN
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1                                      /s/ Dennis S. Waks for
2                                      OLAF W. HEDBERG, Attorney for
                                       SANG HIN SAELEE
3
4                                      /s/ Dennis S. Waks for
5                                      CHRISTOPHER H. WING, Attorney for
                                       LONG NGUYEN
6
                                       /s/ Dennis S. Waks for
7
                                       KEN GIFFARD, Attorney for
8                                      TUAN DAO
9
                                       BENJAMIN B. WAGNER
10                                     United States Attorney
11
     DATED: September 12, 2012         /s/ Dennis S. Waks for
12
                                       TODD D. LERAS
13                                     Assistant U.S. Attorney
14
15                                     O R D E R
16        Based on the stipulation of the parties and good cause appearing
17   therefrom, the Court hereby finds that the failure to grant a
18   continuance in this case would deny defense counsel reasonable time
19   necessary for effective preparation, taking into account the exercise
20   of due diligence.    The Court specifically finds that the ends of
21   justice served by the granting of such continuance outweigh the
22   interests of the public and the defendants in a speedy trial.          Based on
23   these findings and pursuant to the stipulation of the parties, the
24   Court hereby adopts the stipulation of the parties in its entirety as
25   its order.   Time is excluded from computation of time within which the
26   trial of this matter must be commenced beginning from the date of the
27   stipulation through and including November 2, 2012, pursuant to 18
28   U.S.C. §   3161(h)(7)(A) and (B)(iv) [reasonable time for defense


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1    counsel to prepare] and Local Code T4.          A new status conference date is
2    hereby set for November 2, 2012, at 9:00 a.m..
3    Dated:     September 13, 2012
4
5                                         GARLAND E. BURRELL, JR.
6                                         Senior United States District Judge

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